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                           U.S. Department of Justice                                                                   North Central Laboratory
                           Drug Enforcement Administration                                                              Chicago, IL



                                                                                                                                    Chemical Analysis Report
FBI - Springfield (IL) Office                                                                        Case Number: 281O-SI-4717393
900 E. Linton Avenue                                                                                 LIMS Number: 2016-SFL5-06316
Springfield, IL 62703


Observations, Results and Conclusions:

      Exhibit                           Substance(s) Identified                            Net Weight               Substance Purity          Amount Pure Substance
       1B6                        d-Methamphetamine Hydrochloride                          6.5 g ± 0.2 g                97% ± 4%                     6.3 g ± 0.3 g

Remarks:
The reported net weight was determined by direct weighing of all unit(s); the net weight uncertainty value represents an expanded
uncertainty estimate at the 95% level of confidence.

The purity and amount pure substance uncertainty values represent expanded uncertainty estimates at the 95% level of confidence. Purity
was determined from testing the composite.

Exhibit Details:
Date Accepted by Laboratory: 12/22/2016                             Gross Weight: 38.9 g

Exhibit                         No. Units                   Pkg. (Inner)                            Form                                  Reserve Wt.
1B6                                 1                    Ziplock Plastic Bag                     Crystalline                                 6.1 g
Remarks:
No Remarks


Exhibit Analysis:
Sampling:
A composite was formed for testing from 1 unit(s) of 1 unit(s) received. d-Methamphetamine HCl was confirmed in the composite.

Exhibit          Summary of Test(s)
1B6              Capillary Electrophoresis, Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy, Marquis Color Test
Exhibit          Purity Test(s)
1B6              NCL-MEM-GCQ6 / Gas Chromatography




Analyzed By: /S/ Alison P. Kidder-Mostrom, Forensic Chemist                                                                   Date: 01/23/2017
Approved By: /S/ Amy L. Harman, Supervisory Chemist                                                                           Date: 01/23/2017

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                           U.S. Department of Justice                                                                North Central Laboratory
                           Drug Enforcement Administration                                                           Chicago, IL



                                                                                                                                  Chemical Analysis Report
FBI - Springfield (IL) Office                                                                     Case Number: 281O-SI-4717393
900 E. Linton Avenue                                                                              LIMS Number: 2016-SFL5-06315
Springfield, IL 62703


Observations, Results and Conclusions:

      Exhibit                           Substance(s) Identified                            Net Weight            Substance Purity             Amount Pure Substance
       1B5                         Methamphetamine Hydrochloride                            Residue                     ----                            ----

Remarks:
No Remarks


Exhibit Details:
Date Accepted by Laboratory: 12/22/2016                             Gross Weight: 34.6 g

Exhibit                         No. Units                   Pkg. (Inner)                          Form                                    Reserve Wt.
1B5                                 1                    Ziplock Plastic Bag                     Residue                                    Residue
Remarks:
Unit consists of residue from 13 co-mingled ZPB.


Exhibit Analysis:
Sampling:
A composite was formed for testing from 1 unit(s) of 1 unit(s) received. Methamphetamine HCl was confirmed in the composite.

Exhibit          Summary of Test(s)
1B5              Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy, Marquis Color Test




Analyzed By: /S/ Alison P. Kidder-Mostrom, Forensic Chemist                                                                    Date: 01/23/2017
Approved By: /S/ Amy L. Harman, Supervisory Chemist                                                                            Date: 01/23/2017

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